     Case 4:23-cv-01397    Document 22      Filed on 01/07/25 in TXSD      Page 1 of 1
                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                          UNITED STATES DISTRICT COURT                          January 07, 2025
                           SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk
                               HOUSTON DIVISION

COURTNEY B. WARREN,                         §
                                            §
       Plaintiff,                           §
                                            §
V.                                          §        CIVIL ACTION NO. 4:23-cv-01397
                                            §
PNC BANK, NATIONAL ASSOCIATION              §
F/K/A BBVA USA, et al.                      §
                                            §
       Defendants.                          §

                     ORDER DENYING TEMPORARY INJUNCTION

       Before the Court is Plaintiff’s Emergency Motion to Enjoin Substitute Trustee’s

Sale   of    Property   Pending   Court’s   Ruling    on   Reconsideration   (hereinafter,

“Motion”). ECF No. 21. Having considered the Motion, the Court is of the opinion that

it should be DENIED.

       It is therefore ORDERED that Defendant PNC is not enjoined from

proceeding with foreclosure proceedings on Plaintiff’s property located at 402 Hunt

St., Houston, Texas 77003, including but not limited to, the Substitute Trustee’s Sale

scheduled to begin today, January 7, 2025, at 10:00 a.m.

       IT IS SO ORDERED.


       SIGNED on this the 7th day of January, 2025.




                                            Keith P. Ellison
                                            United States District Judge



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